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                         UNITED    STATES    DISTRICT       COURT
                         EASTERN DISTRICT          OF VIRGINIA
                                  Norfolk Division



 EARL R.   FULLER,


                       Petitioner,
 V.                                                           Civil No.:     2:14cvl50
                                                        Criminal No.:        2:llcr36


 UNITED STATES OF AMERICA,


                        Respondent.




                                  OPINION AND       ORDER


       This    matter     is     before     the     Court    on     Earl    R.    Fuller's

 ("Petitioner")      Motion to Vacate,        Set Aside,       or Correct Sentence,

 filed pursuant to       28 U.S.C.        § 2255.     ECF No.       308.     Also before

 the   Court   is    Petitioner's       later-filed motion           seeking      leave   to

 supplement his original           § 2255 motion.            ECF No.       320.     Having

 considered    the     briefs     and     record,     the     Court    finds      that    an

 evidentiary        hearing       is      unnecessary        because        the     record

 conclusively demonstrates that Petitioner is not entitled to the

 relief he seeks.        R. Gov.       § 2255 Proc. in U.S. Dist.            Cts. 8(a).1

 For the reasons set           forth below,       Petitioner's      § 2255 motion and

 his related motion seeking leave to supplement are both DENIED.



   Because the Court finds that an evidentiary hearing is not warranted,
 the Court denies Petitioner's request (contained within his § 2255
 motion) for counsel to be appointed to assist him in this matter.   Cf.
 R. Gov. § 2255 Proc. in U.S. Dist. Cts. 8(c) (indicating that counsel
 must be appointed if an evidentiary hearing is conducted).
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                      I. Factual and Procedural Background

         Petitioner       and    multiple        co-conspirators              were    named       in   a

 thirty-count         superseding            indictment        arising         out    of    a     drug

 trafficking conspiracy.                    ECF No.     92.      Petitioner and two other

 named defendants exercised their right to a trial by jury.                                            On

 September 14, 2011, at the conclusion of a seven day jury trial,

 the jury returned a verdict finding Petitioner guilty of seven of

 the eight charged felony counts.                        ECF No.       173.      On January 31,

 2012,     Petitioner           was     sentenced         to     life        imprisonment,         the

 statutorily         required         sentence     on     the        count     charging     a     drug

 trafficking         conspiracy         involving         five       kilograms        or   more        of

 cocaine.       ECF No.    227.


         Petitioner and the two co-defendants that proceeded to trial

 all    appealed their convictions,                   and the        United     States     Court       of

 Appeals for the Fourth Circuit affirmed all three convictions by

 a joint opinion.          United States v. Fuller,                    498 F. App'x 330            (4th

 Cir.    2012).        Petitioner            thereafter        filed    the     instant       §   2255

 motion, which is now fully briefed and ripe for review.

                                  II.       Standard of Review


         A federal prisoner,                in custody,       may collaterally attack his

 sentence or conviction by moving the district                                court    "to vacate,

 set    aside   or    correct         the    sentence."         28    U.S.C.    §    2255(a).          To

 obtain such relief, a petitioner bears the burden of proving that
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 his    sentence         or    conviction             was       "imposed      in    violation          of   the

 Constitution           or    laws       of    the       United    States,"         that    the       district

 court     "was    without        jurisdiction to                 impose      such    sentence,"            that

 the sentence exceeds "the maximum authorized by law," or that the

 sentence        or     conviction             is        "otherwise        subject         to    collateral

 attack."         Id.        A petitioner must prove the asserted grounds                                    for

 relief     by    a     preponderance               of    the    evidence.          Miller        v.    United

 States,     261      F.2d     546,       547        (4th   Cir.       1958).       Because       a    §    2255

 motion "is ordinarily presented to the judge who presided at the

 original conviction and sentencing . . . the judge's recollection

 of the events at issue" may inform the resolution of the motion.

 Blackledge v. Allison,                  431 U.S.         63,    74 n.4    (1977).

         A § 2255 motion is, in essence,                            a statutory federal habeas

 corpus action that collaterally attacks a sentence or conviction

 through     the        filing    of      a     new      proceeding,        as      contrasted         with    a

 direct    appeal.            United States               v.     Hadden,      475    F.3d       652,    661-63

 (4th     Cir.     2007) .           The       existence          of    the      right      to    pursue       a

 collateral attack does not displace a direct appeal as the "usual

 and customary method of correcting trial errors."                                         United States

 v. Allgood, 48 F. Supp. 2d 554, 558 (E.D. Va. 1999) .

        Although a petitioner advancing new claims asserted for the

 first     time         in    a      §        2255       motion     must        generally         "clear       a

 significantly higher hurdle than would exist on direct appeal,"
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 United States v. Frady,             456 U.S.          152,    166    (1981),       a freestanding

 claim of     ineffective assistance of                  counsel           is properly asserted

 for the first time in a § 2255 motion,                        see United States v.                King,

 119 F.3d 290,       295     (4th Cir.       1997)      ("[I]t is well settled that                   'a

 claim of ineffective assistance should be raised in a                                    28 U.S.C.    §


 2255 motion in the              district court rather than on direct appeal,

 unless     the    record        conclusively        shows      ineffective           assistance.'"

 (quoting United States v.                 Williams,      977       F.2d 866,        871     (4th Cir.

 1992))).     Such rule exists because the Federal Rules Governing §

 2255     Proceedings        permit        expansion          of     the     record,         which    is

 generally        unavailable       on    direct       appeal        and    often     necessary       to

 properly resolve an ineffective assistance claim.                                   United States

 v.     Baptiste,     596    F.3d     214,       216    n.l        (4th     Cir.     2010)       (citing

 Massaro v.       United States,          538 U.S.      500,    504-06,          (2003)).

         The Sixth Amendment             to the Constitution of                  the United States


 provides that        "the accused shall enjoy the right                            ...          to have

 the    Assistance     of    Counsel       for   his    defence."            U.S.    Const,       amend.

 VI.     The Supreme Court has               interpreted the               right     to counsel as

 providing a defendant "'the right to the effective assistance of

 counsel.'"         Strickland v.          Washington,          466       U.S.     668,    686    (1984)

 (emphasis added)          (quoting McMann v. Richardson,                        397 U.S.     759,   771

 n.14     (1970)).          To    obtain     relief       based        on    an      allegation       of

 ineffective        assistance,       a    petitioner must                establish both           that:
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 (1)    counsel's       performance             fell   below     an    objective         standard       of

 reasonableness;            and    (2)    counsel's        inadequate         performance         caused

 the petitioner prejudice.                     Id. at 687-88.           "[U]nsubstantiated and

 largely       conclusory          statements"           are     insufficient            to    carry     a

 petitioner's burden as                  to the two prongs of the Strickland test.

 United States v. Turcotte,                    405 F.3d 515,         537    (7th Cir.     2005).

         When evaluating counsel's performance under the first prong

 of    Strickland,       courts      "must be highly deferential."                        Strickland,

 466 U.S.      at 689;       see Kimmelman v.            Morrison,          477 U.S.      365,    381-82

 (1986)    (discussing            the    "highly demanding"                Strickland         standard).

 To establish constitutionally deficient performance,                                    a petitioner

 must    demonstrate          that       his    lawyer     "made      errors    so       serious      that

 counsel was not functioning as the                        'counsel' guaranteed ... by

 the    Sixth    Amendment."              Strickland,          466     U.S.    at    687.        Such    a

 showing       must    go    beyond       establishing          that       counsel's      performance

 was     below        average,       since        "effective          representation             is    not

 synonymous with errorless representation."                                 Springer v.         Collins,

 586    F.2d    329,    332       (4th Cir.       1978);       see   Strickland,         466 U.S.       at

 687.     As    it is all          too easy to challenge an act,                         omission,      or

 strategy,       once it has            proven unsuccessful,                "every effort         [must]

 be     made    to     eliminate          the     distorting         effects        of    hindsight."

 Strickland,         466 U.S. at 689.              Courts should therefore "indulge a
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 strong presumption that counsel's conduct falls within the wide

 range of reasonable professional assistance."                                      Id.

        The     second        prong          of    Strickland         requires        a       petitioner       to

 "affirmatively prove                   prejudice,"           which        requires       a    showing       that

 "there        is    a     reasonable             probability             that,   but         for    counsel's

 unprofessional             errors,       the      result       of    the     proceeding would have

 been different."                 Strickland,           466 U.S.          at 693-94.           "A reasonable

 probability is a probability sufficient                                    to undermine confidence

 in the outcome."                  Id.    at      694.     If    a    petitioner          fails       to    prove

 either of          the    two prongs of            the Strickland test,                   the court need

 not evaluate the other prong.                           United States v.                 Roane,      378    F.3d

 382,    404    (4th Cir.         2004).

                              III.       Discussion -         § 2255 Motion


         Petitioner's             §    2255       motion   and       associated           filings      allege:

 (1)    ineffective assistance of trial counsel for failure to object

 to     improper          juror        contact       and/or          move     for    a        mistrial;       (2)

 ineffective assistance of trial counsel for failure to object to

 perjured           testimony;           (3)      ineffective             assistance          of     appellate

 counsel for failure to challenge the denial of Petitioner's right

 to represent himself; and (4) ineffective assistance of appellate

 counsel       for        failure       to     raise     "a     Remmer        violation."              For    the

 reasons       set        forth       below,      all    four        of    Petitioner's             claims    are

 DENIED.
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                              A. Preliminary Matter - Timeliness

       The       Government's                brief         in        opposition             challenges              the

 timeliness         of        Petitioner's          §   2255         motion,       arguing            that    it     is

 untimely because such motion was not filed within ninety-days of

 the   Fourth         Circuit's         judgment        on       appeal.              See    Clay      v.    United

 States,       537 U.S.         522,    532       (2003)     (explaining that "§ 2255's one-

 year limitation period starts to run"                                 when the time for pursing

 certiorari expires); U.S.                    Supreme Ct. R. 13.1                     (indicating that "a

 petition       for       a    writ    of    certiorari          ...             is    timely when            it     is

 filed     .    .     .       within    90    days         after       entry          of    the       judgment") .

 However,       after          his    conviction           was       affirmed,             Petitioner         timely

 filed   a      petition with               the    Fourth        Circuit         seeking          a    rehearing.

 See   ECF      No.       287.         Approximately             one       month       later,         the     Fourth

 Circuit        issued         an     order       denying        a    rehearing.               ECF      No.        28 9.

 Supreme Court Rules                  expressly establish that                         "if a petition for

 rehearing is timely filed in the lower court by any party,                                                   or if

 the lower court appropriately entertains an untimely petition for

 rehearing or sua sponte considers rehearing,                                     the time to file the

 petition for a writ of certiorari . . . runs from the date of the

 denial of rehearing or,                     if rehearing is granted,                         the subsequent

 entry     of    judgment."             U.S.       Supreme           Ct.    R.    13.3.           Accordingly,

 here, because Petitioner' filed his § 2255 motion within one year

 and ninety days after the denial of his petition for rehearing,
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 his § 2255 motion is timely.                     See Prilliman v. United States, No.

 Civ.    RDB-10-1802,          2011 WL 1465519,           at    *2    (D.    Md. Apr.    15, 2011)

 (indicating           that,      pursuant          to      Supreme          Court      Rule,       the

 petitioner's          one-year       §    2255    limitations          period       began     to   run

 ninety    days      after      the   Fourth       Circuit          denied    his    motion     for   a

 rehearing) .

          B. Trial Counsel's Failure to Challenge Juror Contact

         Petitioner          first        claims     that       his         trial     counsel       was


 ineffective for agreeing to a stipulation,                            for failing to object

 to improper juror contact,                  and for failing to request a hearing

 or move for a mistrial on these issues.                               All of       such arguments

 arise    from    an    interaction        between       Government         witness    Clive     Black


 ("Black") and the attorney for Samuel Lloyd ("Lloyd"), one of the

 co-defendants that was jointly tried with Petitioner.

         According to Lloyd's attorney,                   Black,       while waiting in line

 to enter the courthouse on the fifth day of trial,                                  asked Lloyd's

 attorney       to     "tell     Sammy      they     forced          me,"     presumably        making

 reference to Black's earlier trial testimony inculpating Lloyd of

 drug trafficking activities.                     Trial Tr.         847,    ECF No.    206.      Black

 was subsequently questioned by the Court, outside the presence of

 the    jury,     and    he     admitted       talking         to    Lloyd's        attorney     while

 waiting    in       line,     but    denied       making      any     statement       about     being

 forced to do anything.                   Id. at 1005-08.             After Lloyd's attorney
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 heard       Black's     version        of     events,       he    continued            to    assert     that

 Black had mentioned being forced, but agreed that Black had asked

 an additional question on an unrelated topic that counsel had not

 remembered         earlier        in        the    day     when     he       first          reported      the

 conversation to the              Court.       Id.    at 1008.


         A review of         the    trial          transcript reveals              that,      after Black

 shared       his      version          of     the        conversation             with       the      Court,

 Petitioner's          counsel          quickly           advanced       a        motion       seeking      to

 preclude Black from testifying further in the case and moving to

 strike Black's entire trial testimony due                                   to    its unreliability.

 Id.    at    1013-14.       The    Court          took   such    matter          under      advisement     in


 order to continue the presentation of                             evidence in the               case,     and

 indicated to counsel during a side-bar conference that the matter

 would be resolved the next morning.                          Id. at 1014.

         The next morning,              the Court was informed by counsel                              that a

 stipulation had been reached                        on    such    issue,          and     the   following

 statement should be read to the jury:                             "Yesterday morning,                   Clive

 Black stated the following to court personnel:                                      'Tell Sammy that

 they    forced        me    to    do    it.'"            Trial    Tr.        1159,       ECF    No.      207.

 Although such stipulation left unresolved the question of whether

 Black       had    made      a    false           denial     about          the     content        of     the

 conversation,          it    provided             additional      evidence             which    could      be

 viewed as undercutting Black's credibility.                                      See    Fuller,    498     F.
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 App'x     at     332     (concluding,          in    the      opinion       jointly        addressing

 Petitioner's           and    his    two     co-defendants'               direct        appeal,     that

  "[t]he       stipulation      was     a    reasonable          solution         that    allowed        the

 defendants to further impeach Black's testimony," and that after

 the stipulation was reached,                   there was          "no error"        by this Court

  in failing to "order a mistrial sua sponte").

          In line with the Fourth Circuit's analysis on direct appeal,

 and      in    consideration         of     the      deferential          Strickland         standard


 presuming         that       counsel       performed          within      the      wide     range        of

 reasonable         professional             conduct,            this       Court         finds      that

 Petitioner's           counsel's        agreement          to     the      stipulation            was     a

 reasonable         strategic        decision         because         it   provided         additional

 evidence that could be used to further impeach Black's testimony.

 See Goins v. Angelone,                 52 F.      Supp.    2d 638,         663    (E.D. Va.        1999)

  ("The        Strickland      standard       mandates           considerable            deference        to

 trial     counsel's strategic choices,                     whether or not               those choices

 are ultimately successful.").                       Had Petitioner's counsel insisted

 on putting Black on the stand before the jury in an effort to

 prove his "false denial," the jury might have believed that Black

 never     stated       "tell Sammy          they     forced      me,"      possibly        concluding

 that he        had been misheard because                 of    his     Jamaican accent.             Even

 worse for the defense, the jury could have concluded that Lloyd's

 lawyer, who would              likely have been a necessary witness                              if the



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 matter was pressed further,                    was willing to fabricate evidence to

 advance      the       defense.         As    noted       above,         the     fact     that     Lloyd's

 counsel's initial recounting of                         the brief conversation omitted a

 subject that he later conceded was briefly discussed must also be

 considered         in    the    strategic       calculus            as    such     fact     could     have

 provided the Government the opportunity to call into question the

 veracity or memory of Lloyd's counsel.

        The       soundness of         Petitioner's counsel's                     strategic decision

 to forgo such uncertainties and rely on the stipulation are thus

 apparent         from    the    record,      and    Petitioner's               hindsight     attack     on

 the reasonableness              of    counsel   decisions           lacks        merit.     See United

 States      v.    Dehlinger,          740    F.3d       315,   325        (4th    Cir.     2014)     ("The

 Sixth Amendment does not provide a basis for disappointed clients

 to   launch after-the-fact                  attacks       on   the        objectively       reasonable

 strategic decisions of their trial attorneys.");                                      Strickland,      466

 U.S.   at    689        (explaining         that because            it is        "all too easy"         to

 challenge         an    act,     omission,         or    strategy,          once      it   has     proven

 unsuccessful,            "every       effort       [must]      be        made    to     eliminate      the

 distorting effects of hindsight,                        to reconstruct the circumstances

 of counsel's challenged conduct,                        and to evaluate the conduct from

 counsel's perspective at the time").                           Notably, if Lloyd's counsel

 was compelled to testify, it could have impacted the trial in any

 number      of    ways,        some    of    which       could       have       conceivably        harmed



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 Petitioner's       case,     and     such harm         may     not    have     been    worth      the

 perceived risk in light of the fact that Mr. Black had provided

 minimal and uncompelling evidence against Petitioner.

        This    Court's      conclusion          is    no    different        with     respect      to

 Petitioner's       assertion         that       his        trial      counsel       should       have

 requested a mistrial.                See United            States     v.    Chapman,    593 F.3d

 365,   368    (4th Cir.      2010)      (indicating that moving for a mistrial

 is inherently a strategic decision and involves consideration of

 "numerous      alternative          strategies             such      as     remaining       silent,

 interposing an objection,                requesting a curative instruction,                        or

 requesting an end to the proceeding")                          (internal quotation marks

 and citation omitted).               Petitioner argues                in his       § 2255    motion

 that    at    least    one       juror    overheard           the     conversation          on     the

 courthouse steps, and that counsel should have either moved for a

 mistrial      or   insisted      that     the    Court        question       the    jurors       about

 such    matter.            However,       the         trial       transcript        reveals        the

 reasonableness        of   the     parties'      and the          Court's     decision not          to

 inquire further into whether any juror heard the exchange.

        Although     Petitioner        highlights           favorable        excerpts     from      the

 trial transcript that,             when considered in a vacuum,                     suggest that

 a juror might have heard something,                         consideration of           the entire

 transcript reveals otherwise.                   Specifically,              in both the      initial

 and later discussions of this issue on the record on day five of



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 trial,       Lloyd's       counsel       indicated       his     confidence           that         no    juror

 overheard the brief conversation,                        in part because he quickly cut

 off    the    conversation,          recognizing          that      a    juror was            approaching

 the line and must have seen them talking.                                See Trial Tr.               847-49,

 ECF No.       206    (Lloyd's        counsel:       "we    were         not    in    earshot            of   any

 jurors";        "nobody       heard       it     other     than         me");       Id.       at     1008-09

  (Lloyd's counsel:           "the juror who sits in the back row . . . with

 blond      hair,     was      approaching          about       25       feet     behind            him";       "I

  immediately scanned everyone around me to determine if there were

  jurors,      and    the    only     one    I    saw was       the       lady       approaching              from

 behind us";         Id.     at    1012     (Lloyd's       counsel:        "[T]hat         juror did--I

 mean,    obviously         she    observed,        she    couldn't--well,                 I   don't          know

 what she could hear.                 Obviously I can't speak for her.                               But she

 was far enough away that I'm confident she didn't hear it.                                                    But

  she    did   see    us     and    was     right    in     line         behind      us.")          (emphasis

 added).       Because neither Lloyd's counsel nor Black reported that

 any     juror       contact       occurred,        Petitioner            fails       to       demonstrate

  constitutionally           deficient           performance         based       on    his          counsel's

  failure to seek a mistrial and/or failure to insist that inquiry

  be made of one or more jurors.

         In addition to the above analysis concluding that Petitioner

  fails to demonstrate constitutionally deficient performance with

 respect to the handling of Black's contact with Lloyd's counsel,



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 the    Court       finds     that        Petitioner        fails        to    demonstrate       resulting

 prejudice.           Strickland,           466    U.S.      at    692.        As     alluded to above,

 Black's       testimony           focused        on   the        other       co-defendants        and    was

 extremely limited as to Petitioner, with Black testifying that he

 only met       Petitioner on a               single occasion when he                         provided him

 with a       (relatively)           small amount of cocaine at                        the request of       a

 co-conspirator.              Trial Tr. 301-02,                   ECF No.       203.      Black did not

 appear        to    know      Petitioner's            name        and        could     not    confidently

 identify him in court.                    Id. at 302.             Moreover,          the record reveals

 that    the        count     in    which     Petitioner           was        charged    with    the      drug

 transaction involving Black (Count 21) was the only count against

 Petitioner          on     which     the    jury returned               a     "Not    Guilty"     verdict.

 Trial Tr.          808-10,    ECF No.       205; Trial Tr.               885-91,      ECF No.     206;    ECF

 No.    173.        As Petitioner's counsel secured a "Not Guilty" verdict

 as    to     the     drug     activities          for      which        Black        provided     evidence

 against Petitioner,                her strategic decisions regarding Black were

 ultimately successful.                    Accordingly,            the arguments in the pending

 § 2255 motion fail to demonstrate "a reasonable probability that,

 but    for     counsel's"          alleged        mishandling            of    the     incident    on     the

 courthouse steps,                 "the    result      of    the proceeding would have been

 different."           Strickland, 466 U.S. at 693-94.2


 2 Related to the              above,       Petitioner advances                the largely conclusory
 assertion that he was unconstitutionally denied access to the content
 of the side-bar conference that immediately followed Black's testimony
 about his conversation with Lloyd's counsel.   The Court rejects such

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         For      the      above-stated             reasons,            all     of       Petitioner's

  ineffective           assistance        arguments           regarding          trial         counsel's

 handling of Black's contact with Lloyd's counsel are DENIED.

           C. Trial Counsel's Failure to Challenge Alleged Perjury

         Petitioner         next         claims        that       his     trial         counsel            was


  ineffective          for failing       to    object       to,    or moving to           strike,          the

 perjured         testimony         of        Government          witness        Trenton             Hawkins

  ("Hawkins")          and/or    for     failing       to   request       a    mistrial            based    on

 prosecutorial misconduct associated with the presentation of such

 allegedly        false     testimony.              Specifically,             Petitioner           contends

  that Hawkins,         at the time of his guilty plea,                       swore under oath in

 a written         "Statement of Facts"3                 that      he sold cocaine only to

 Black      and    an     individual           known     as       "Mousey,"      whereas             Hawkins



 claim in light of the fact that, at the outset of trial, the Court
 inquired of counsel regarding the requested trial procedure,       and
 Petitioner's counsel confirmed in the presence of Petitioner while in
 the courtroom that Petitioner was waiving his right to be present at
 bench conferences.  Trial Tr. 38, ECF No. 202. Moreover, even had such
 waiver not occurred,            and even if Petitioner's counsel made the decision
 regarding     the      stipulation without          relaying       the   details of           the    bench-
 conference       to    Petitioner,      it    is   "well-established           that    in     a    criminal
 trial, defense counsel has the authority to manage most aspects of the
 defense without first obtaining the consent of the         defendant,"
 including numerous tactical decisions "such as what evidence should be
 introduced, what stipulations should be made, what objections should be
 raised" as well as "decisions regarding a mistrial."  Chapman, 593 F.3d
 at 367-68 (emphasis added)    (internal quotation marks and citations
 omitted).        Petitioner's claim that counsel was ineffective for failing
  to   fully involve       him    in the      decision process          on    this     issue       therefore
  fails.


 3 It is the common practice in this Court for a criminal defendant to
 sign a sworn stipulation of fact referred to as a "Statement of Facts"
 in conjunction with the entry of his or her guilty plea.

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 testified        on    direct       at    trial    that    he     sold     cocaine   to   Black,

 Mousey, and Petitioner.

         As explained by the Fourth Circuit,                       " [a]   conviction acquired

 through the knowing use of perjured testimony by the prosecution

 violates due          process"       regardless as         to    "whether the prosecution

 solicited testimony it knew to be                         false or        simply allowed such

 testimony to pass uncorrected."                     United States v. White, 238 F.3d

 537,     540    (4th    Cir.      2001)      (internal     citations        omitted).      Here,

 having considered the arguments advanced by Petitioner in his                                    §

 2255      filings,          the      Court     finds       that       Petitioner       fails    to

 demonstrate that            the prosecutor engaged in misconduct and fails

 to demonstrate that his                  trial counsel was           ineffective because she


 did not advance one of                   several suggested challenges to Hawkins'

 testimony.

         First,        Petitioner's           argument      regarding        Hawkins'      alleged

 pretrial sworn statement appears to incorrectly rely on Black's

 written        Statement       of    Facts     rather      than      Hawkins'    Statement      of


 Facts.         Hawkins'     actual statement does not identify by name the

 persons that Hawkins sold cocaine to,                       instead indicating that he

 sold     cocaine       to    "various        individuals        in    Virginia."       Case    No.

 2:llcr9, ECF No. 30               (emphasis added).             Petitioner therefore fails

 to     demonstrate      that        Hawkins'      trial    testimony       was   perjurious     in

 that it contradicted his prior sworn statement.



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         Second,     even        if       Black's         sworn    Statement         of    Facts      is

 considered in analyzing whether Petitioner's counsel should have

 argued     that         the     Government             knowingly        introduced           perjured

 testimony,      Black's        statement does not contradict Hawkins'                            trial

 testimony    in     the       manner      necessary        to    support     such a       challenge.

 While    Black's        Statement          of    Facts     does    expressly        indicate      that

 Hawkins sold cocaine to Black and "Mousey,"                             it does not indicate

 that    Hawkins     sold cocaine only to                   Black and Mousey.                Case No.

 2:llcrll0,      ECF No.        10.        Additionally,          Black's Statement of Facts

 does not expressly indicate that sales                             to   Black or Mousey were

 all    direct     sales,        as       contrasted        with    sales       arranged        through

 Petitioner        (which      is     what       Hawkins'    claimed      at    trial      on    cross-

 examination) .            Such           document's        silence      as     to     Petitioner's

 involvement        in     Hawkins'          drug       activities       does        not     create     a

 "conflict"      with subsequent trial                    testimony that would support a

 motion     challenging             the     admissibility          of    such    testimony,           but

 instead merely creates an evidentiary question to be resolved by

 the jury.

         Petitioner's § 2255 filings and the record in this case, and

 the associated cases involving Petitioner's co-conspirators,                                      fail

 to reveal       prosecutorial misconduct and/or perjurious                                testimony.

 Petitioner        therefore          fails        to     demonstrate         that     his      counsel

 committed any error at all,                     let alone an error of constitutional



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 magnitude,        when     she     failed     to        seek    to    exclude      Hawkins          as   a

 witness,        failed   to    move    to    strike        his    testimony,        or    failed         to

 request a mistrial on this issue.                         Strickland,         466 U.S.         at    687-

 89; see Moody v. Polk,              408 F.3d 141,          151       (4th Cir.    2005)       (finding

 that    counsel was         not    constitutionally deficient                     for    failing         to

 file a motion that was not likely to succeed) .                                   Alternatively,

 even assuming that trial counsel should have raised an objection,

 Petitioner fails            to demonstrate a              "reasonable probability"                   that

  the   result of      the     proceeding would have been different had such

 argument been made.                Strickland,          466 U.S.       at 694.          Petitioner's

 second claim is therefore DENIED.


            D. Appellate Counsel's Failure to Raise the Denial
               of Petitioner's Right to Self-Representation

        Petitioner        next      asserts       that     his    appellate        counsel         should

 have      challenged        this    Court's        pre-trial           rulings/statements                as

  improperly       denying      Petitioner          the    right       to    proceed      pro        se   at

  trial.         Immediately        prior     to     the    start       of    Petitioner's            jury

  trial,    the     Court      heard    directly           from       Petitioner     on        his    oral

 motion     to    terminate        appointed       counsel.            Upon detailed           inquiry,

  Petitioner's         comments        revealed          that     there      was     not       a     total


 breakdown        in   communication          between           Petitioner     and       his       lawyer.

 Rather,     Petitioner's           comments        outlined          his    recently       developed

 dissatisfaction          with      what     he     perceived          as    counsel's         disloyal

 efforts to continue encouraging Petitioner to plead guilty rather


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 than     focusing       on       preparing       for       trial.          See      United        States     v.

 Norfleet,        401        F.     App'x     833,           837       (4th       Cir.        2010)        ("[A]

 disagreement over strategy and tactics                                . . . does not constitute

 a      communication             breakdown       sufficient                to    warrant          replacing

 counsel."       (citing          United    States          v.    Johnson,        114     F.3d      435,     443

  (4th    Cir.     1997))).               After    a        detailed          back      and    forth       with

  Petitioner        and           his     counsel,           the        Court        determined             that

  Petitioner's        counsel's           trial    preparations               were      appropriate          and

 sufficient,        and       that        there    was           no    basis       to     terminate          her

  representation.             The Court then explained to Petitioner that he

  should    refocus          on    cooperating          with          his   attorney          to    help     her

 provide a defense at trial,                      and of          course,        that he was free to

  convey to his lawyer any interest that he had in entering a plea.

  See Trial Tr.       5-29,        ECF No.    202.

          Petitioner         now    asserts       that       appellate           counsel       should      have

  argued    that      this        Court's    handling             of    the      motion       to   terminate

  counsel constituted a denial of Petitioner's constitutional right

  to represent        himself           at trial.           However,          such argument plainly

  lacks    merit,       as    Petitioner          fails          to    demonstrate        that        such    an

  appellate claim was               "'clearly stronger than'"                     the several claims

  that were presented on direct appeal.                                 Bell v.      Jarvis,        236     F.3d

  149,    164   (4th Cir.         2000)    (quoting Smith v. Robbins,                      528 U.S.        259,

  288     (2000) ).          Notably,        after          repeatedly           being     afforded          the



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 opportunity          to     directly       address             the    Court        prior        to     trial,

 Petitioner never once indicated that he wanted to proceed pro se,

 instead focusing on all of                     the reasons he was dissatisfied with

 his current lawyer's performance and/or loyalty.                                          See Fields v.

 Murray,      49    F.3d 1024,        1029       (4th Cir.            1995)       ("[A]    defendant          who

 desires       to     invoke       his     right       to       self-representation,                    thereby

 waiving       his         right     to     counsel,             must        do     so      clearly           and

 unequivocally.")                (internal         quotation             marks            and     citations

 omitted).          Moreover,       at    the     conclusion of               Petitioner's            argument

 challenging         his     counsel's       performance,              the     Court       inquired:          "So

 that's    all      on    the    motion    for    new       counsel?         To    terminate          counsel?


 That    was       your     motion?"       and    Petitioner            responded:              "Yes,     sir."

 Trial Tr.      20,      ECF No.    202.

         After the lengthy back and forth with Petitioner in which he

 was     afforded          the     opportunity          to       directly          advance        two      oral

 motions,      all occurring while                the       jury venire            was     waiting       to    be

 called    into       the   courtroom,          the    Court      did    indicate          to    Petitioner

 that the Court was not going to hear anything further from him.

 Id. at 28-29.             However,      at no point did Petitioner even allude to

 the    fact that he wished to proceed pro se.                                 See Fields,            4 9 F.3d

 at    1029    ("The        requirement          that       a    defendant          invoke        his     self-

 representation right clearly and unequivocally . . . allow[s]                                                the

 court    safely to          presume       that       the    defendant         should proceed with



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 counsel    absent an unmistakable                expression by          the defendant       that

 [proceeding       in     such     manner]        is    contrary         to   his     wishes.")

 (citations       omitted).       Petitioner         therefore     fails      to    demonstrate

 that this Court          improperly denied his unraised right to proceed

 without     counsel,       and    thus     clearly       fails     to    demonstrate        that

 appellate    counsel was         constitutionally deficient                  for failing      to

 raise    such matter on appeal.4                    Moreover,      Petitioner        fails    to

 demonstrate resulting prejudice                  from counsel's          failure     to   raise

 such claim.       Petitioner's         third claim is therefore DENIED.


       E. Appellate Counsel's Failure to Raise a "Remmer violation"

         Similar to his claim that trial counsel provided ineffective

 assistance       by    mishandling       the     brief   contact        between     Black    and

 Lloyd's    counsel,       Petitioner       asserts       that    appellate        counsel    was

 ineffective       for    not    raising     on     appeal   this    Court's        failure    to

 conduct a "Remmer hearing."                In Remmer v. United States,                347 U.S.

 227    (1954),    the    Supreme       Court held that          "[i]n a      criminal     case,

 any    private        communication,       contact,       or     tampering        directly    or

 indirectly,      with a juror during a trial about the matter pending

 before     the   jury     is,    for    obvious       reasons,     deemed     presumptively




 4 Petitioner likewise fails to demonstrate that his appellate counsel
 should have challenged this Court's failure to sua sponte continue the
 trial in order to afford Petitioner an additional opportunity to seek
 to retain counsel of his own choosing. Notably, even on the morning of
 trial, Petitioner never stated that he was capable of retaining
 counsel; to the contrary, his statements that morning indicated that he
 was not.    Trial Tr.     6-7,   ECF No.    202.

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 prejudicial."5            Id. at 229 (emphasis added).                      The Supreme Court

  further indicated that a hearing should be                               conducted when there

  is    improper      contact      with     a   juror       and     that    the    Government          can

  overcome the presumption of prejudice by demonstrating that "such

  contact with the juror was harmless to the defendant."                                   Id.

         Here,    as discussed above,              the trial transcript demonstrates

  that this Court took evidence on this issue during trial and that

 numerous      clarifying questions were asked of                           the participants            in

  the    courthouse-steps               conversation         in      order        to     sufficiently

  establish      that      the    brief     conversation            occurred       outside       of    the


  earshot of         any of      the jurors.          See Smith v.           Phillips,        455 U.S.

  209,   217     (1982)     (indicating         that     due      process       requires      "a      jury

  capable      and    willing      to    decide    the      case        solely on       the   evidence

 before it, and a trial judge ever watchful to prevent prejudicial

  occurrences        and   to    determine      the     effect      of   such     occurrences         when


  they    happen").              Thus,     there      was      no       private        communication,

  contact,     or direct or indirect tampering with a juror,                                  and even

  if there was,         a sufficient hearing on such matter was                               provided

  during trial.            See Barnes v.          Joyner,         751    F.3d 229,       243-44       (4th

  Cir. 2014), cert, denied,                135 S. Ct. 2643              (2015) (explaining that

 while a defendant has a right to a Remmer hearing when there is a

  5 In Barnes v. Joyner, 751 F.3d 229, 243 (4th Cir. 2014) cert, denied,
  135 S. Ct. 2643 (2015), the Fourth Circuit recently acknowledged a
  circuit split regarding whether such presumption survives subsequent
 Supreme Court        cases,      but    indicated that        the      presumption continues           to
 apply in the Fourth Circuit.

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  "a   credible    allegation              of     communications            or     contact       between      a

  third party and a juror concerning the matter pending before the

  jury," such a hearing may be conducted "during trial")                                             (emphasis

 added).

          Moreover,     even if this Court assumes,                          against the weight of

  the evidence,        that a juror heard part of the conversation on the

  courthouse      steps,           the         words    spoken,           under     either        speaker's

 account,     were     largely innocuous.                     Tellingly,          outside        of   Black's

  statement     that    was        later relayed              to    all    of     the    jurors       in open

  court     pursuant    to     a     stipulation,             nothing       else        was    said on       the

  courthouse      steps       that        had     the        potential       to     color       the     jury's

  interpretation of           the        trial     evidence.              Barnes,       751    F.3d at       244

  (indicating that "to be entitled to the Remmer presumption and a

  Remmer     hearing,     a    defendant           must        first      establish           both    that    an

 unauthorized contact was made and that                              it was of          such a       character


  as   to    reasonably            draw         into    question           the     integrity          of     the

 verdict")        (emphasis              added).             Accordingly,           although            it    is

  questionable as to whether a Remmer hearing was constitutionally

  necessary,     because       this            Court   both        took    evidence       on     this      issue

  and held several            conferences              with counsel          for all           parties,      the

  Court concludes that:                  (1)    an adequate Remmer inquiry/hearing was

  in fact conducted;               (2)    the record was              sufficiently developed to

 demonstrate      that        it    is     highly       unlikely          that     any        juror    contact



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 occurred;       and     (3)     the    record          further          reveals          that     any     juror

 contact that conceivably could have occurred was "harmless to the

 defendant,"        rendering          it     unnecessary               to    directly          question       any

 jurors about such matter.                    Remmer,        347 U.S. at 229.

          For    these    reasons,           Petitioner              fails         to    demonstrate           that

 appellate counsel was                 constitutionally deficient                          for opting not

  to assert a Remmer violation.                         Bell,      236 F.3d at 164.                 Moreover,

  Petitioner fails to demonstrate resulting prejudice,                                            as not only

 was   there      an     apparent       lack       of    juror          contact,          but     the   alleged

  contact       (other    than    the        statement          that         was    the    subject        of    the

 stipulation)            "amounted            to        nothing              more         than      innocuous

  interventions."              Barnes,        751       F.3d       at    244        (internal       quotation

 marks     and    citations       omitted).              As     Petitioner               fails     to    satisfy

  either prong of          the    Strickland standard,                        his       fourth ground for

  relief    is DENIED.


                   IV.    Discussion -         Motion for Leave to Amend


          Petitioner's initial               § 2255 motion was timely filed shortly

 before     the    expiration           of     the      one-year             limitations          period        set

  forth in 28 U.S.C.            § 2255(f).              Many months later,                  long after the

  expiration of the limitations period,                              Petitioner filed his motion

  for leave to "supplement" his § 2255 motion.                                          ECF No.    320.        Such

  latter motion          was    filed pursuant                to     Rule      15(d)       of     the    Federal

  Rules    of    Civil    Procedure,           seeking          to      add a       new claim alleging



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 that     trial         counsel            failed        to      inform          Petitioner         of     the


 Government's first plea offer that would have allowed Petitioner

 to serve "0-20 years."                     Id.

        As    recognized             by    the     Fourth       Circuit,         facially      time-barred

 amendments        to     a     §    2255     motion          "relate       back"     to    the    original

 motion      when       "'the        claim        or    defense        asserted       in    the     amended


 pleading arose out of the conduct,                             transaction,         or occurrence set

 forth       ...          in        the    original        pleading.'"               United       States       v.

 Pittman,        209 F.3d 314,              317    (4th Cir.          2000)      (quoting the version

 of   Fed.    R.    Civ.       P.    15(c)(2)          in effect       at     that    time).       However,

 when defining the scope of                        the phrase          "conduct,       transaction,            or

 occurrence"        as     set       forth       in Rule        15(c),      the   Fourth      Circuit      has

 expressly rejected a broad interpretation that would include an

 entire trial, or entire sentencing proceeding.                                      Id.;   see Mayle v.

 Felix,      545   U.S.       644,        662-64       (2005)    (similarly rejecting a broad

 interpretation            of       "conduct,          transaction,         or    occurrence"        in    the

 context      of    a Rule          15(c)     "relation back"               argument       advanced by a

 federal habeas petitioner).

         Here,     Petitioner's proposed § 2255 supplement advances a new

 and discrete allegation that trial counsel failed to relay a plea

 offer,      a     claim        that       arises       out      of    different        conduct          and    a

 separate        "transaction or occurrence"                          than the       other allegations

 of ineffective assistance alleged in Petitioner's original § 2255



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 motion.      Petitioner's motion for leave to supplement is therefore

 DENIED as the proposed new claim is time-barred.e

         Alternatively,         even if         Petitioner's               supplement was            timely,

 his   newly      asserted           claim     would       be        denied      on     the    merits       as

 Petitioner's       newly       submitted affidavit                   and       argument      in     support

 are directly contradicted by the record in this case.                                          The trial

 transcript       clearly        reveals        that       the       Government          never       made    a

 formal    plea    offer        in    this     case       that       would      allow    Petitioner         to

 serve     any    less     than       a   twenty-year            mandatory            minimum      term     of

 imprisonment.           See Missouri v. Frye,                  132 S. Ct.          1399,     1408    (2012)

  (indicating      that     "defense           counsel      has       the       duty    to    communicate

 formal offers from the prosecution to accept a plea on terms and

 conditions       that     may       be    favorable            to    the       accused")       (emphasis

 added).      Such fact was confirmed by the Government, Trial Tr. 16,

 23-24,    ECF No.       202,    defense counsel,                id.       at   23,    and Petitioner,

 id.   at 17.7           Petitioner's newly advanced conclusory assertion

 that the Government actually made an earlier-in-time and far more

 lenient plea offer              fails on its face as                        it is belied            by the



 6 In addition to Petitioner's failure to demonstrate that his proposed
 supplement      "relates    back"        to   his    original         §   2255     motion,     Petitioner
 fails to advance facts demonstrating that his proposed supplement was
 filed within a year of when the facts supporting the claim could have
 been discovered through due diligence. 28 U.S.C. § 2255(f).

 7 Petitioner further stated on the record immediately prior to trial
 that even       if he    had    been     offered a plea              with      a   ten-year       mandatory
 minimum, he would not have taken it.                     Trial Tr. 17, ECF No. 202.

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 portion        of    the    trial     transcript            that       directly         addresses          the

 formal plea offers extended by the Government in this case.

         For the above            stated reasons,            Petitioner's motion for leave

  to   supplement       is DENIED as             it    improperly attempts                  to     advance     a

 new     and    discrete      claim       outside           of   the    applicable             limitations

 period.         28    U.S.C.      §   2255(f).             Alternatively,             even        if   deemed

  timely,      Petitioner's proposed new claim is DENIED on the                                         merits

 as    the     trial transcript conclusively demonstrates                                   that    the     only

  formal plea offer extended by the Government would have required

  Petitioner to serve a mandatory minimum of twenty years.

                                            V.   CONCLUSION


         In    sum,    Petitioner's          §    2255       motion       and        related       motion     to

  supplement are both DENIED.                    ECF Nos.        308,     320.

         Finding that Petitioner has not made a "substantial showing

 of the denial of a constitutional right" as to any of his claims,

 a certificate of            appealability as                to Petitioner's                § 2255 motion

  is   DENIED.         28    U.S.C.     §    2253(c)(2);            see    R.        Governing          §   2255

  Proceedings in U.S.             Dist.     Cts.       11(a);     Miller-El v.              Cockrell,        537

 U.S.    322,    336-38      (2003).

         Petitioner          is     ADVISED           that       because         a     certificate            of


 appealability is denied by this Court, he may seek a certificate

  from the United States Court of Appeals                               for the Fourth Circuit.

 R.     Gov.     §    2255   Proceedings              for    U.S.      Dist.         Cts.     11(a).          If



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 Petitioner        intends         to    seek    a   certificate      of    appealability          from

 the Court of Appeals,                  he must forward a written notice of appeal

 to   the     Clerk     of   the    United       States    District    Court,       United    States

 Courthouse,        600      Granby Street,           Norfolk,   Virginia,          23510,    within

 sixty (60) days from the date of this Order.

         The Clerk is DIRECTED                  to   forward a   copy of      this Opinion and

 Order      to   Petitioner,            to   Petitioner's    former        counsel,    and    to    the

 United States Attorney's Office in Norfolk, Virginia.

         IT   IS   SO   ORDERED.




                                                                              /s   7W&-
                                                                       Mark    S.    Davis
                                                            UNITED    STATES       DISTRICT   JUDGE
 Norfolk, Virginia
 August [*\ , 2015




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